
In re Durand, Carl; — Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. C, No. 402-026; to the Court of Appeal, Fourth Circuit, No. 2004-K-0235.
Denied. Untimely, not cognizable, and repetitive. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 *1042(La.1/12/96), 665 So.2d 1172; La.C.Cr.P. art. 930.4(D).
